             If this opinion indicates that it is “FOR PUBLICATION,” it is subject to
                  revision until final publication in the Michigan Appeals Reports.




                           STATE OF MICHIGAN

                            COURT OF APPEALS


INFINITY ACQUISITIONS, LLC,                                            UNPUBLISHED
                                                                       August 15, 2024
               Plaintiff-Appellant,

v                                                                      No. 364938
                                                                       Wayne Circuit Court
SARDINIA, INC., doing business as SARDINIA                             LC No. 21-010469-CB
DEVELOPMENT, LLC, THERESA MARROCCO,
KATHERINE MARROCCO, and MICHAEL
MCLAUGHLIN,

               Defendants-Appellees.


Before: O’BRIEN, P.J., and CAVANAGH and SHAPIRO*, JJ.

SHAPIRO, J. (concurring in part and dissenting in part).

        I concur with the majority in affirming dismissal of the individual defendants, the claim of
fraud in the inducement and the claim of tortious interference. However, I dissent as to the breach
of contract claim. I would reverse the trial court’s dismissal of that claim and remand for further
proceedings.

        Specifically, I disagree with the majority’s holding that the letter of credit provided by
plaintiff did not, as a matter of law, satisfy the earnest money requirement. Plaintiff timely
delivered the letter from First State Bank. The letter stated that plaintiff’s principal line of credit
with them was in excess of $1 million, available for immediate use and that the bank had been
instructed “that the line can be used to draw on upon your request of deposit for the sale of the
property . . . . The funds are allocated for use upon immediate demand of the deposit to First
Centennial Title.”

       I would instead conclude that a reasonable juror could find that the letter of credit—which
provided access to funds many times greater than the amount of the required deposit—satisfied




*Former Court of Appeals judge, sitting on the Court of Appeals by assignment.

                                                 -1-
this requirement.1 Given the existence of a question of fact, the determination is one for the jury.
This view is strengthened by the fact that even after the alleged failure to provide the funds for the
earnest money deposit defendant entered into an amended purchase contract without expressing
any concern about the letter of credit or earnest money.

        In sum, I conclude that there is a question of fact as to which party breached first–plaintiff
by submitting the letter of credit or defendant by cancelling the rezoning request and selling to a
third party. I would therefore remand for further proceedings on Count I of its complaint.




                                                              /s/ Douglas B. Shapiro




1
 Whether the letter of credit satisfied the deposit requirement is a question of fact whether one
construes the requirement as a contractual duty or a condition.


                                                 -2-
